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       In the United States Court of Federal Claims
                                          No. 00-512L

                                  (Filed: December 21, 2012)
                                          _________

 PETRO-HUNT, L.L.C.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                           _________

                                           ORDER
                                          __________

       On December 20, 2012, the parties filed a joint motion to modify the scheduling order of
July 11, 2012. The motion is hereby GRANTED. Accordingly, the schedule for further
proceedings in this case is as follows:

       1.     On or before May 3, 2013, the parties shall complete fact discovery;

       2.     On or before May 31, 2013, plaintiff shall disclose their expert materials
              as required by RCFC 26(a)(2);

       3.     On or before June 28, 2013, defendant shall disclose their expert materials
              as required by RCFC 26(a)(2);

       4.     On or before August 2, 2013, expert discovery shall be completed; and

       5.     On or before August 16, 2013, the parties shall file a joint status report
              indicating how this case should proceed.

       IT IS SO ORDERED.


                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
